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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
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In re:                                                  :
                                                        :   Chapter 11
EMC BRONXVILLE METROPOLITAN                             :
LLC                                                     :   Case No. 18-22963-RDD
f/k/a Metloft Bronxville LLC,                           :
                                                        :
                           debtor.                      :
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                        LENDER’S STATEMENT REGARDING MOTION
                          FOR THE APPOINTMENT OF A TRUSTEE

        AAEB5 Fund 17, LLC (the “Lender”), a creditor of EMC Bronxville Metropolitan LLC

(f/k/a Metloft Bronxville LLC) (the “Debtor”), the above-captioned debtor, in response to the

motion of the petitioning creditors, Thomas E. Haynes Architect, Werner E. Tiejen, PE and Happ

Heating & Cooling Service, Inc. (the “Petitioners”) for the appointment of a Chapter 11 Trustee

dated July 18, 2018 (the “Trustee Motion”), respectfully states as follows:

        1.       In their Trustee Motion, the Petitioners describe matters pertaining to the Debtor,

including the nature of certain claims against the Debtor. Although the Lender is not taking a

position regarding the Trustee Motion at this time, Lender is constrained to note that the

descriptions regarding the Debtor and the Lender are inaccurate in some respects, and incomplete

in others. Accordingly, the corrections and clarifications herein are offered to ensure that the

Court and all parties in interest have accurate information.

        2.       On or about December 9, 2015, Lender extended a $5 million loan to the Debtor.

The Debtor is in default of its obligations under this loan, and the Debtor’s total indebtedness to

Lender was approximately $6,359,706 as of August 1, 2018.

        3.       The Trustee Motion falsely states that Brent Borland was the “broker that brought

EB-5 financing to the project.” In fact, the principals of the Lender do not know Mr. Borland




 
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and have never discussed anything (including the Debtor) with Mr. Borland or any person

purporting to represent Mr. Borland. Mr. Borland simply had nothing to do with the origination

of the Lender’s loan to the Debtor.


                                               DUVAL & STACHENFELD LLP
                                               Counsel for AAEB5 Fund 17 LLC


                                               By: /s/ Kirk L. Brett
                                                   Kirk L. Brett
                                               555 Madison Avenue, 6th Floor
                                               New York, NY 10022
                                               Phone: 212-883-1700




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